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                                                       CITY OF WILSON
                                                           MINUTES
                                                        JTILY T7TH,2OL7

 Ttre City Council for the City of Wilson met at 6:30 p.m, on Thursday,
                                                                        July 176, 2017,                 x   1065 LS Highway 70A, for a
                                                   regular counoil meeting'
l.   Call mecting to order. (Mayor Schaafl
Z    nolf call, dJchration oiquiru* beiog prescnt' (Mayor Sohaafl
                                                                           - ycs'
     Alexand'er   - yes, Newby -   yes, Segroves      - yes, Warnscott
     Quorum declared'
     City Attorney Brett Morton not present'-
3.   Public scssion: (15 minutes no astion may be taken)
                                                                               Felir Hernandez'
     Ray Uavis, Rick Camplain, and Faiah Bnzzrea spoke supporting Chief
4,   New Business:                                                                             police
           A. Discussion, consideration, and take action on entering into Executive session on
                  department'
                                          l, Discussion only with police personnel interviews'
                  Newby   m6tioned    t0 etrter into Executiie session 0n police department.
                  Alexander second'
                  Xe*Uy - yes, Aterander - yes, Segroves - yes, Wainscott - yes'
                  Motion carried 4:0.
             B,   I'ake action to reconv€ne-
                  Segroves motioned to reconvene'
                  Alerander secoud'
                  Newby   -    yes, Alexander     *   yes, Segroves    -   yes' Wainscott    -   yes'
                  Motion carried 4:0.
             C. Discussiol,                        e.nd    tske action on personel modification of duties, and modification
                  of officer      "Jirii"i.rioq
                               status.
                  iiii"r*ti     *otionert to make no changes of duties or officer status.
                  NewbY sccond.
                  Newby   -                 - yes, Segroves - yes' Wainscott - yes'
                               yes, Alernnder
                  Motion carried   4:0'
             p.   biscussion, tonsid"ratiorq and take action on administrative changes.
                  Newby motioned to strike'
                   Segroves second,
                                                                           yes' Wainscott    -   yes'
                  m*tby - yes, Alexander - yes, Segroves -
                  Motion carried 4:0.
             E. Discussioil r"*i.ii*tioq        and take aotion on any administrative changes necessary ficr the best
                  itttere'sl of thc police departrnent'
                                                                                             30 days but would
                  F{swlry urotione4 to suspencl Chief Felix Ecrnandez without pay for
                  allow    use  of his vacntion PaY  onlY'
                   Wainscot second.
                   Newby - ye*, Alexander         -   yes, Segroves    -    yes, Wainscott   -   yes'
                   Motion carried 4:0.
5. Reports from dePartment heads
6. Cornments and inquirics from council.
7. Adjourn.
      Scgroves motioned to adjourn'
      Wainscott second,
      Alerander - yes, Newby - yes, Segroves          -   yes, Wainscott - yes'
      Motion carried 4:0'


                                                          Adjourned 8:25 P.m'




                                                                                                                            DEF O7O4


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                                                                    DEF O7O5
